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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
  Case No.       SACV 16-2210-AG (KESx)                                    Date    June 20, 2018
  Title          Kaylee Browning, et al. v. Unilever United States, Inc.


 Present: The Honorable
                                Karen E. Scott, United States Magistrate Judge
                 Jazmin Dorado                                            CS 6/20/18
                   Deputy Clerk                                     Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Yitz Kopel                                           Virginia Choi
                                                                          Claudia Vetesi


Proceedings:               Telephonic Discovery Conference




      Case is called. Counsel state their appearances telephonically.         Court and counsel confer.
The Court states is rulings on the record.

      Defendant shall lodge with the Court documents for in camera review on or before
Tuesday, June 26, 2018.




                                                                                    00       :        27

                                                                                  Initials of Clerk        JD




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